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                 IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Jesusa Policarpio                       )      Case No.
                                               )
                                               )
      Plaintiff                                )      COMPLAINT
                                               )
                                               )
v.                                             )      July Demand Requested
                                               )
      Client Services                   .      )
      3451 Harry S. Truman Blvd                )
      Saint Charles, MO 63301-4047             )
                                               )
      Defendant                                )
______________________________________________________________________
  Now comes Plaintiff, by and through her attorneys, and, for her Complaint alleges as
                                       follows:

                                        INTRODUCTION

             1. Plaintiff, Jesusa Policarpio, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Credit Corp
                Solutions, Inc.. Plaintiff allege violation of the Fair Debt Collection
                Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits any false, misleading or deceptive
                threats in connection with the collection of a debt 15 U.S.C. Section
                1692e.
             3. A debt collection may not imply outcomes that are not legally able to
                come to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
             4. The Seventh Circuit has stated that "[w]hen language in a debt
                collection letter can reasonably be interpreted to imply that the debt
                collector will take action it has no intention or ability to undertake, the
                debt collector that fails to clarify that ambiguity does so at its peril." Lox
                v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012) (citing Gonzales
                v. Arrow Financial Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
             5. In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-
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          1979) (N.D.IL 2016), the Court stated “literally true conditional
          language in a dunning letter can be deceptive if the action suggested is
          legally prohibited.” Id.
       6. The Sixth Circuit Court of Appeals stated “[I]f Plaintiff can show that
          interest or charges could never accrue and therefore the balance owed
          is truly fixed, then his claim should be allowed to go forward to
          determine if, under those circumstances, Defendants’ letter was
          threatening or materially misleading.” Walker v. Shermeta, Adams,
          Von Allment, PC 623 F. App’x 764, 768 (6th Cir. 2015).
       7. Recently, the Seventh Circuit Court of Appeals stated that the “safe
          harbor” language given in Miller v. McCalla, Raymer Padrick, Cobb,
          Nichols, & Clark, LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to
          situations that can not legally come to pass. Recently, the Seventh
          Circuit Court of Appeals weighed into the statement in paragraph 24
          that it is not a protection to use this language when an outcome is
          being suggested that is impossible to come to pass. Boucher v. Fin.
          Sys. Of Green Bay, Inc., No. 17-2308, (7th Cir., 2018).
       8. In Boucher, the Seventh Circuit Court of Appeals stated “



                      JURISDICTION AND VENUE
       9. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       10. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                              PARTIES
       11. Plaintiff, Jesusa Policarpio (hereinafter “Plaintiff”) incurred an obligation
          to pay money, the primary purpose of which was for personal, family,
          or household uses (the “Debt”).
       12. Plaintiff is a resident of the State of Illinois
       13. Defendant, Client Services, Inc. (“Defendant”), is a Missouri business
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          entity with an address of 3451 Harry S. Truman Blvd., St. Louis, MO
          63301.-4047 operating as a collection agency, and is a “debt collector”
          as the term is defined by 15 U.S.C. Section 1692a(6).
       14. Unless otherwise stated herein, the term “Defendant” shall refer to
          Client Services.
       15. At some point, the original creditor, sold this debt to Defendant for debt
          collection.
       16. The primary operation of Defendant is the collection of debt.
                                   ALLEGATIONS
       17. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $652.82 (the “Debt”) to an original creditor (the “Creditor”)
       18. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       19. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
       20. The letter was mailed on September 18, 2017. See Exhibit A.
       21. The Plaintiff received this letter on or about September 25, 2018.
       22. The top of the letter listed an itemization of debt. See Exhibit A.
       23. It stated, specifically, “Balance Due At Charge-Off: $652.82”; “Interest:
          0.00” and “Other Charges 0.00” and “Payments Made: 0.00” “Current
          Balance: $652.82” See Exhibit A.
       24. This letter suggests to the unsophisticated consumer that future
          interest and “Other Charges” on this debt are a possibility. See Exhibit
          A.
       25. The allegation described in paragraph 24 is an outcome that is not
          legally possible.
       26. There are no “other charges” with this “charged off” debt.
       27. The original contract between Plaintiff and the original creditor stated
          that interest could only be charged if Plaintiff is late on making her
          monthly payment after receiving her monthly statement.
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       28. Defendant can not even charge late fees as there is not even
          statements being sent to the Plaintiff anymore.
       29. The letter was mailed to Plaintiff approximately six weeks after the debt
          was charged off and not one dime of interest or other fees was added
          to this debt.
       30. Defendant in fact, has no intention of charging interest on this debt.
       31. This is evidenced by Exhibit B, a statement from Defendant sent three
          months later with no interest added at all. See Exhibit B

                             STANDING AND INJURY

       32. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       33. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
       34. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       35. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       36. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       37. The Defendant’s conduct violated 15 U.S.C. Section 1692e by
          suggesting an outcome that is a legal impossibility.
       38. The Defendant’s conduct violated 15 U.S.C. Section 1692e by
          suggesting an outcome that it had no intention of exercising.
                                    JURY DEMAND
       39. Plaintiff demands a trial by jury.
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                                    PRAYER FOR RELIEF
       40. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                   Respectfully submitted,
                                              /s/ John Carlin__________________
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